    Case: 1:16-cv-02076 Document #: 29 Filed: 05/24/16 Page 1 of 2 PageID #:209



                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION
___________________________________
                                                 )
PETER GABIOLA, ANTONIO HAMMOND,                  )
on behalf of themselves and all other similarly  )
situated individuals,                            )
                                                 )
                             Plaintiffs,         )
                                              v. )   No. 16 C 2076
                                                 )
                                                 )   Judge Coleman
                                                 )
MUGSHOTS.COM, LLC, et. al.,                      )
                                                 )
                             Defendants.         )
___________________________________              )

                       UNITED STATES’ MOTION TO INTERVENE

       The United States of America, by Zachary T. Fardon, United States Attorney for the

Northern District of Illinois, pursuant to Rule 5.1 of the Federal Rules of Civil Procedure (FRCP)

and Rule 5.6 of this court’s local rules, moves to intervene in this action to defend the

constitutionality of the Fair Credit Reporting Act (FCRA) codified at 15 U.S.C. § 1681c, and

states as follows:

       1.       Rule 5.1 of the FRCP permits the United States to intervene when a private party

files a notice indicating that it has drawn into question the constitutionality of a federal statute.

Defendants in this action, Mugshots.com LLC, et. al., filed such a notice on March 25, 2016. As

part of that notice, defendants indicated that they had raised a First Amendment challenge to the

FCRA as well as to several Illinois state statutes in their March 22, 2016 motion to dismiss.

Defendants’ notice triggered the timing requirements of Rule 5.1(c). Under those requirements,

the United States was granted 60 days to seek intervention. That 60-day deadline expires today,

May 24, 2016.
    Case: 1:16-cv-02076 Document #: 29 Filed: 05/24/16 Page 2 of 2 PageID #:210



       2.        At this point, the United States is still evaluating whether intervention in this

matter is appropriate. Counsel for the United States is reviewing the pleadings and coordinating

with other interested government officials. By regulation, any final decision on whether the

United States will participate in this action will be made by the Solicitor General. See 28 C.F.R.

§ 0.21 (providing in full that, “[t]he Solicitor General may in consultation with each agency or

official concerned, authorize intervention by the government in cases involving the

constitutionality of acts of Congress.”). We are in the process of preparing a recommendation to

the Solicitor General concerning intervention. We anticipate that it will take, at a minimum, 60

additional days for us to finalize that recommendation, forward it to the Solicitor General, and

have him render a decision.

       3.        In the meantime, to protect the interests of the United States, we are now moving

to intervene in this action to defend the constitutionality of 15 U.S.C. § 1681c. We will advise

the court immediately of the Solicitor General’s final determination on intervention by the

United States.

                                              Respectfully submitted,

                                              ZACHARY T. FARDON
                                              United States Attorney

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